       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Andrew Gilbert Schmuhl
       v. Commonwealth of Virginia
       Record No. 1572-16-4
       Opinion rendered by Judge Beales on
        September 11, 2018

    2. Marvin Kendell Midgette
       v. Commonwealth of Virginia
       Record No. 1692-17-1
       Opinion rendered by Judge Malveaux on
        October 30, 2018

    3. Calvin Darnell Butcher
       v. Commonwealth of Virginia
       Record No. 0974-16-2
       Opinion rendered by Judge Russell on
        November 6, 2018

    4. Daniel Gordon Anderson
       v. Commonwealth of Virginia
       Record No. 1228-17-1
       Opinion rendered by Judge Chafin on
        November 6, 2018

    5. Tina Lasha Hall, a/k/a
        Tina Lasha Waller
       v. Commonwealth of Virginia
       Record No. 1751-17-3
       Opinion rendered by Judge Beales on
        November 6, 2018

    6. Santraun Deshaud Speller
       v. Commonwealth of Virginia
       Record No. 1826-17-1
       Opinion rendered by Judge Petty on
        November 6, 2018
7. Cathleen Nelson and William Nelson
   v. Middlesex Department of Social Services
       John and Jane Doe
   Record No. 2041-17-2
   Opinion rendered by Judge Russell on
    November 20, 2018
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. John Beverly Chapman, Jr.
    v. Commonwealth of Virginia
   Record No. 1948-16-4
    Opinion rendered by Judge Russell
     on September 26, 2017
    Judgment of Court of Appeals affirmed by order rendered on
     November 29, 2018 (171417)

2. Robert Lee Jones
   v. Commonwealth of Virginia
   Record No. 0574-16-2
   Opinion rendered by Chief Judge Decker
    on December 19, 2017
   Judgment of Court of Appeal affirmed by opinion rendered on
     December 6, 2018 (180052)

3. Daniel Ernest McGinnis
   v. Commonwealth of Virginia
   Record No. 0117-17-3
   Opinion rendered by Judge Beales
     on December 12, 2017
   Judgment of Court of Appeals reversed, our opinion is vacated, and convictions
      are affirmed by opinion rendered on December 13, 2018
    (180055)

4. Choon Poong Lee
   v. Commonwealth of Virginia
   Record No. 1897-16-4
   Opinion rendered by Senior Judge Haley
    on December 19, 2017
   Refused (180258)

5. Terrance Kevin Hall
   v. Commonwealth of Virginia
   Record No. 0481-17-3
   Opinion rendered by Judge AtLee
     on January 9, 2018
    Judgment of Court of Appeals reversed and matter remanded to this Court
      for remand to the trial court by opinion rendered on December 20, 2018
    (180197)
6. Laurence Maria Smith, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 1058-16-2
   Opinion rendered by Judge Beales
     on January 16, 2018
    Judgment of Court of Appeals affirmed by opinion rendered on December 13, 2018
    (180198)

7. Christopher Parris Cabral
   v. Commonwealth of Virginia
   Record No. 1186-17-1
   Opinion rendered by Judge Malveaux
    on July 17, 2018
   Refused (181058)
